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                                                 DRABBELS v. DRABBELS
                                                  Cite as 25 Neb. App. 102



                                        Michelle R. Drabbels, appellee and
                                 cross-appellant, v.    Darren W. Drabbels,
                                           appellant and cross-appellee.
                                                       ___ N.W.2d ___

                                           Filed October 3, 2017.    No. A-16-1046.

                1.	 Divorce: Child Support: Appeal and Error. An appellate court’s
                     review in an action for dissolution of marriage is de novo on the record
                     to determine whether there has been an abuse of discretion by the trial
                     judge. This standard of review applies to the trial court’s determinations
                     regarding child support.
                2.	 Judges: Words and Phrases. A judicial abuse of discretion requires
                     that the reasons or rulings of a trial judge be clearly untenable, unfairly
                     depriving a litigant of a substantial right and a just result.
                3.	 Evidence: Appeal and Error. When evidence is in conflict, an appel-
                     late court considers, and may give weight to, the fact that the trial judge
                     heard and observed the witnesses and accepted one version of the facts
                     rather than another.
                4.	 Child Support: Insurance: Proof. In calculating a party’s child support
                     obligation, a deduction shall be allowed for the monthly out-of-pocket
                     cost to the parent for that particular parent’s health insurance so long
                     as the parent requesting the deduction submits proof of the actual cost
                     incurred for health insurance.
                 5.	 ____: ____: ____. In calculating a party’s child support obligation, the
                     increased cost to a parent for health insurance for the child shall be
                     prorated between the parents; the parent paying the premium receives a
                     credit against his or her share of the monthly support, provided that the
                     parent requesting the credit submits proof of the cost of health insurance
                     coverage for the child.
                6.	 Child Support. In calculating child support, the total monthly income
                     of a parent should include earnings derived from all sources.
                7.	 ____. While a court is allowed to add in-kind benefits, derived from
                     an employer or other third party, to a party’s income, a court’s findings
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                        DRABBELS v. DRABBELS
                         Cite as 25 Neb. App. 102
     regarding an individual’s level of income should not be based on the
     inclusion of income that is entirely speculative.
 8.	 Child Support: Pensions. In calculating child support, a parent may
     receive a deduction for contributions to a retirement plan.

   Appeal from the District Court for Sheridan County: Travis
P. O’Gorman, Judge. Affirmed as modified, and cause remanded
with direction.
  Jerrod P. Jaeger, of Jaeger Law Office, P.C., L.L.O., for
appellant.
  Andrew W. Snyder, of Chaloupka, Holyoke, Snyder,
Chaloupka &amp; Longoria, P.C., L.L.O., for appellee.
   Moore, Chief Judge, and Bishop and A rterburn, Judges.
   A rterburn, Judge.
                        INTRODUCTION
   Darren W. Drabbels appeals, and Michelle R. Drabbels
cross-appeals, from the decree of dissolution entered by the
district court for Sheridan County, which decree dissolved their
marriage, awarded them joint legal custody of their daughter,
awarded Michelle physical custody of their daughter, and
ordered Darren to pay child support. At issue in this appeal is
the district court’s calculation of Darren’s child support obli-
gation. Upon our review, we conclude that the district court
erred in calculating Darren’s monthly income and in failing to
allocate childcare expenses between the parties. As a result, we
must modify that portion of the decree which concerns child
support. In addition, we must remand the cause to the district
court to enter an order allocating childcare expenses between
the parties.
                      BACKGROUND
   Darren and Michelle were married on September 26, 2009.
There was one child born during the marriage; a daughter, born
in January 2013. The parties separated in October 2014.
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   Michelle filed a complaint for dissolution of the marriage
on April 27, 2015. In the complaint, she specifically asked that
the parties’ marriage be dissolved, that their marital assets and
debts be equitably divided, and that she be awarded custody of
their daughter and child support.
   On December 28, 2015, the district court entered a tempo-
rary order which awarded Michelle physical and legal custody
of the parties’ daughter pending the dissolution trial. The
temporary order also awarded Michelle $500 per month in
child support.
   Trial was held on June 28 and August 17, 2016. During the
trial, the evidence presented by both parties focused primar-
ily on custody of the parties’ daughter, the division of marital
property, and the proper amount of child support to be paid
by Darren. In this appeal, neither party challenges the district
court’s decisions concerning custody or the division of prop-
erty. As such, our recitation of the evidence presented at the
trial focuses on only that evidence relating to child support and
childcare expenses.
   Michelle testified that she is currently employed as a den-
tal office manager. She has been employed there since 2011
and earns $20 per hour. Michelle testified that she receives
certain benefits as a result of her employment, including free
dental care, the option to obtain health insurance, and a “401K
where [the company] matches 3 percent of what I put in
there.” Michelle indicated that Darren currently provides their
daughter with health insurance through his employer. Michelle
testified that while she could provide health insurance for their
daughter, she believes that it would be best for their daughter
to remain on Darren’s insurance plan. Michelle also indicated
that their daughter attends daycare and that she and Darren
have been splitting the cost of this daycare since at least
January 2016. Michelle testified that she wanted this arrange-
ment to continue.
   Darren testified that he is currently employed by a pub-
lic power district as a journeyman lineman. As a part of
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                       Cite as 25 Neb. App. 102
his employment, he is a member of a union. In 2016, he
earned $33.35 per hour. In addition to his hourly wages, he
receives certain “fringe benefits” as a result of his employ-
ment. These benefits include health insurance and retirement
benefits. Darren offered evidence which showed that in 2016,
his employer paid $1,935.52 per month for Darren’s and his
daughter’s health insurance. Darren testified that this insurance
was paid for entirely by his employer. He does not pay any-
thing toward the insurance plan, and nothing is deducted from
his paycheck to pay for this benefit. However, Darren also
testified that if the cost of his insurance increases, his hourly
rate of pay may be affected. Similarly, Darren offered evidence
which showed that in 2016, his employer paid $12,555.61 in
retirement benefits for him. Darren testified that these retire-
ment benefits were paid for entirely by his employer and
that nothing is deducted from his paycheck to pay for this
benefit. Other “fringe benefits” received by Darren in 2016
include the opportunity to earn overtime, a “Safety Award” of
$107.63, and paid holiday, vacation, and sick leave. However,
Darren testified that the overtime and the safety award are
not “guaranteed.”
   Darren testified that his monthly income should be calcu-
lated by using his hourly wage of $33.35 and adding in the
amount that his employer pays for health insurance. He also
indicated that when the court calculates his child support
obligation, he should receive a deduction for his health insur-
ance premiums and a credit for his daughter’s health insur-
ance premiums.
   After trial, the district court entered a decree of dissolution.
In the decree, the court ordered Darren to pay child support in
the amount of $880 per month. In calculating Darren’s child
support obligation, the court indicated its finding that Darren’s
monthly income totals $7,716. The court did not give Darren a
deduction or a credit for the health insurance premiums, but did
give him a deduction of $375 for his contributions to a retire-
ment account. The court indicated its finding that Michelle’s
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                       Cite as 25 Neb. App. 102
monthly income totals $3,466 per month. The court did not
give Michelle a deduction for any contribution to a retirement
account. The court also did not discuss the allocation of child-
care expenses in the decree.
   After the court entered the decree of dissolution, Darren
filed a timely motion to alter or amend, requesting that the
court reconsider the calculation of his monthly income for
child support purposes. A hearing was held on this motion.
At this hearing, Michelle specifically indicated that she had
not filed any motions after the decree was entered. However,
she offered into evidence copies of recent paystubs and cop-
ies of recent daycare bills. Ultimately, the district court denied
Darren’s motion to alter or amend and did not make any
changes to its child support calculation.
   Darren appeals, and Michelle cross-appeals.
                  ASSIGNMENTS OF ERROR
   On appeal, Darren argues that the district court erred in
calculating his monthly income for child support purposes.
Specifically, he asserts that the district court failed to include
in its calculations a deduction and a credit for the health insur-
ance premiums he pays for himself and his daughter.
   On cross-appeal, Michelle also argues that the district court
erred in calculating Darren’s monthly income. Specifically,
she asserts that the district court erred in failing to include all
of Darren’s “fringe benefits” in the calculation of his monthly
income; in determining the portions of Darren’s income which
are taxable and nontaxable; and in including a deduction for
Darren’s retirement contributions. In addition, Michelle argues
that the district court erred in calculating her monthly income
because the court failed to include a deduction for her retire-
ment contributions. Finally, she argues that the court erred in
failing to allocate childcare expenses between the parties.
                  STANDARD OF REVIEW
   [1,2] An appellate court’s review in an action for dissolu-
tion of marriage is de novo on the record to determine whether
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there has been an abuse of discretion by the trial judge. Patton
v. Patton, 20 Neb. App. 51, 818 N.W.2d 624 (2012). This
standard of review applies to the trial court’s determinations
regarding child support. See id. A judicial abuse of discretion
requires that the reasons or rulings of a trial judge be clearly
untenable, unfairly depriving a litigant of a substantial right
and a just result. Id.   [3] When evidence is in conflict, an appellate court consid-
ers, and may give weight to, the fact that the trial judge heard
and observed the witnesses and accepted one version of the
facts rather than another. Millatmal v. Millatmal, 272 Neb. 452,
723 N.W.2d 79 (2006).
                          ANALYSIS
                    Calculation of Darren’s
                        Monthly Income
   In calculating Darren’s child support obligation, the district
court determined Darren’s gross monthly income to be $7,716.
While the court did not specifically explain how it determined
that amount, it appears that the court utilized Darren’s hourly
wages along with the amount his employer pays for health
insurance in its calculation. Darren earns $33.35 per hour
and works 40 hours per week. Accordingly, prior to taxes,
Darren earns $5,780.67 per month. The evidence revealed that
Darren’s employer pays for health insurance premiums for
Darren and his daughter. The monthly total of those premiums
is $1,935.52. When we add Darren’s gross monthly earnings
to the amount spent on his health insurance premiums, we get
$7,716.19, which is, essentially, the amount the district court
calculated for Darren’s gross monthly income.
   In their respective appeals, both Darren and Michelle chal-
lenge the district court’s calculation of Darren’s income. In
his appeal, Darren asserts that the district court erred in
including the amount his employer pays for health insurance
premiums in its calculation of his monthly income, but fail-
ing to then provide him with a deduction or a credit for those
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health insurance premiums. Upon our review, we conclude that
Darren’s assertion on appeal has merit.
   [4,5] In calculating a party’s child support obligation, a
deduction shall be allowed for the monthly out-of-pocket
cost to the parent for that particular parent’s health insur-
ance so long as the parent requesting the deduction submits
proof of the actual cost incurred for health insurance. Neb.
Ct. R. § 4-205(F) (rev. 2016). The increased cost to a parent
for health insurance for the child shall be prorated between
the parents; the parent paying the premium receives a credit
against his or her share of the monthly support, provided
that the parent requesting the credit submits proof of the cost
of health insurance coverage for the child. See Neb. Ct. R.
§ 4-215(A) (rev. 2011).
   At trial, Darren offered into evidence proof of the cost of
health insurance for himself and his daughter. This evidence
indicated that if Darren were only to insure himself, the
monthly premium would total $764.87. Darren also insures
his daughter, and as a result, his monthly premium totals
$1,935.52. Such evidence demonstrates that the increased cost
to Darren for his daughter’s health insurance is $1,170.65.
Normally, pursuant to the Nebraska Child Support Guidelines,
Darren should receive a deduction for the amount he pays
to insure himself and a credit for the increased amount he
pays to insure his daughter. However, the evidence at trial
established that Darren does not actually pay anything out
of pocket for the health insurance premiums. Instead, his
employer pays all of the monthly premiums as a part of his
employee benefits. Accordingly, if we consider only Darren’s
hourly wages in calculating his income, he would receive
neither a deduction nor a credit for the payment of health
insurance premiums.
   As we discussed above, however, the district court did
not consider only Darren’s hourly wages in calculating his
income. Instead, the court calculated Darren’s gross monthly
income by adding Darren’s hourly earnings to the amount
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                      Cite as 25 Neb. App. 102
his employer spends on the health insurance premiums. In
doing so, the court imputed the cost of the health insurance
premiums as income to Darren. When the court imputed
the health insurance premiums as income to Darren, it was
required to follow the guidelines to provide Darren a deduc-
tion and a credit for the payment of the premiums. If the court
had included such a deduction and a credit, however, Darren
would actually pay less child support than he would if the
employer-paid premiums were not imputed to him as income,
even if the imputed income was listed as tax exempt. This is
clearly an inequitable result, especially when we consider that
the purpose of the guidelines is to determine a proper por-
tion of a person’s expendable income to be allocated to child
support. No part of the health insurance premium is available
to Darren to utilize for other purposes. Upon our review, we
conclude that the district court abused its discretion in includ-
ing in its calculation of Darren’s income the health insurance
premiums paid by Darren’s employer.
   Darren’s monthly income must be calculated by utilizing
only his hourly wages and not the amount his employer spends
on the health insurance premiums. This calculation eliminates
any need to provide Darren with a deduction or a credit for the
health insurance premiums and, as a result, leads to a fair and
equitable child support calculation. Based on our calculation,
Darren’s gross monthly income should total $5,781.
   In her cross-appeal, Michelle also challenges the district
court’s calculation of Darren’s monthly income. As a part of
her argument, she asserts that the district court erred in includ-
ing the cost of the health insurance premiums in Darren’s tax-
able income, rather than in his nontaxable income. Given our
conclusion that the health insurance premiums should not be
included at all in the calculation of Darren’s monthly income,
we need not address this assertion further.
   Michelle also asserts that the district court erred in failing
to include all of Darren’s “fringe benefits” in the calcula-
tion of his monthly income. Upon our review of the record,
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we cannot say that the district court abused its discretion in
failing to include Darren’s benefits in the calculation of his
monthly income.
   At trial, Darren indicated that in 2016, he received cer-
tain benefits, beyond his hourly salary, as compensation for
his employment. These benefits included payment of health
insurance premiums, monthly payments to a retirement plan,
the opportunity to earn overtime, a safety award of $107.63,
and paid holiday, vacation, personal, and sick leave. We have
already determined that the district court should not include
the payment of the health insurance premiums in its calcula-
tion of his total monthly income. Additionally, we address
Darren’s retirement benefits separately in our analysis below.
Accordingly, in examining the merits of Michelle’s assertion
about whether all of Darren’s benefits should be included in the
calculation of his monthly income, we focus on only Darren’s
opportunity to earn overtime, his safety award of $107.63, and
his paid holiday, vacation, personal, and sick leave.
   [6] In calculating child support, the total monthly income of
a parent should include earnings “derived from all sources.”
Neb. Ct. R. § 4-204 (rev. 2016). The guidelines also indicate
that in calculating a parent’s total monthly income:
         The court may consider overtime wages in determin-
      ing child support if the overtime is a regular part of the
      employment and the employee can actually expect to
      regularly earn a certain amount of income from work-
      ing overtime. In determining whether working overtime
      is a regular part of employment, the court may consider
      such factors as the work history of the employee for the
      employer, the degree of control the employee has over
      work conditions, and the nature of the employer’s busi-
      ness or industry.
Id.
   [7] The Nebraska Supreme Court provided further guidance
on how to calculate a person’s income for child support pur-
poses when it held that a flexible approach should be taken in
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determining a person’s income for purposes of child support,
because child support proceedings are, despite the child support
guidelines, equitable in nature. Gangwish v. Gangwish, 267
Neb. 901, 678 N.W.2d 503 (2004). For example, while a court
is allowed to add in-kind benefits, derived from an employer or
other third party, to a party’s income, a court’s findings regard-
ing an individual’s level of income should not be based on the
inclusion of income that is entirely speculative. See, Gress v.
Gress, 271 Neb. 122, 710 N.W.2d 318 (2006); Workman v.
Workman, 262 Neb. 373, 632 N.W.2d 286 (2001).
   At trial, Darren testified that the overtime and the safety
award are not guaranteed to be a part of his salary, but, rather,
these benefits are opportunities to earn additional income.
There was no evidence to indicate whether Darren regularly
earns overtime pay or exactly how much overtime pay he
had earned in the months and years preceding the dissolution
proceeding. Similarly, there was no evidence about the require-
ments for earning the safety award or whether this award had
previously been earned by Darren and could be considered a
regular part of his annual salary.
   Based on the limited evidence presented at trial, we cannot
say that the district court erred in excluding from its calcula-
tion of Darren’s income any overtime pay or the amount of
the safety award. There is nothing in the record to demonstrate
that these benefits are a regular part of Darren’s income. The
district court did not abuse its discretion in failing to include
such speculative income.
   We also conclude that the district court did not err in exclud-
ing from its calculation of Darren’s monthly income his paid
holiday, vacation, personal, and sick leave. Again, there is
nothing in the record to indicate that these benefits represent
anything more than a substitute for Darren’s normal hourly
earnings when he is unable to work or chooses to take time off
from work. There was nothing to suggest that if Darren does
not use these benefits, he will receive an additional monetary
payout based on the value of the benefit.
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   Michelle also challenges the district court’s calculation of
Darren’s monthly income based on the court’s inclusion of
a deduction for Darren’s retirement contributions. Upon our
review of the record, we conclude that Michelle’s assertion in
this regard has merit.
   [8] In calculating child support, a parent may receive a
deduction for contributions to a retirement plan. Section
4-205(C) of the child support guidelines provides that a parent
should be given a deduction for
      [i]ndividual contributions, in a minimum amount required
      by a mandatory retirement plan. Where no mandatory
      retirement plan exists, a deduction shall be allowed for
      a continuation of actual voluntary retirement contribu-
      tions not to exceed 4 percent of the gross income from
      employment or 4 percent from the net income from
      self-employment.
   In its calculation of Darren’s income, the district court
included a deduction of $375 for Darren’s contribution to a
retirement plan. However, the evidence offered at trial revealed
that Darren’s employer makes monthly payments to a retire-
ment plan for Darren. There is nothing to indicate that Darren
makes any out-of-pocket contributions in excess of his employ-
er’s contributions. Because there is nothing to support the
district court’s inclusion of a $375 deduction for Darren’s pay-
ment to a retirement plan, we conclude that the court erred in
including this deduction.
   As we mentioned above, Michelle also asserts that the dis-
trict court erred in not including in its calculation of Darren’s
income the amount Darren’s employer pays toward his retire-
ment plan. We conclude that the district court did not err
in this regard. As a part of the division of marital property,
the court awarded Michelle a portion of Darren’s retirement
account. Given this award, we cannot say that the district
court abused its discretion in failing to include any future pay-
ments to the retirement account as a part of Darren’s income.
Moreover, moneys paid into a retirement plan do not constitute
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income that is readily available for support. Depending on the
retirement plan, said employer deposits may be completely
unavailable to access by the employee until retired or may be
accessible only as a loan which must be repaid. In any event,
no evidence was adduced indicating that Darren could gain
access to the contributions made by his employer to his retire-
ment plan. Therefore, we find that the employer’s contribu-
tions cannot be considered as income to Darren for purposes
of a child support calculation.
   Upon our review, we find that Darren’s gross monthly
income should be calculated utilizing only his hourly wages.
He should not receive a deduction for the payment of his
health insurance premiums, nor should he receive a credit
for the payment of his daughter’s health insurance premiums.
He also should not receive any retirement deduction, since
he does not make any out-of-pocket contributions to a retire-
ment account.

                   Calculation of Michelle’s
                        Monthly Income
   In her cross-appeal, Michelle also argues that the district
court erred in calculating her monthly income for child support
purposes. She asserts that the court should have included in its
calculation a deduction for the payments she makes to a retire-
ment plan. We find no merit to Michelle’s assertions.
   As we discussed above, the guidelines provide that a parent
may receive a deduction for actual contributions to a retire-
ment plan. See § 4-205(C). However, at trial, Michelle failed
to present any evidence to prove that she currently makes
contributions to a retirement plan or to prove the amount of
any contributions she makes. Michelle testified that one of the
benefits provided to her by her employer is a “401K where
[the company] matches 3 percent of what I put in there.” She
also adduced evidence regarding a retirement account she
accrued while working for a former employer. Michelle did
not provide any further information at trial about whether
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she contributed to the retirement account with her present
employer or how much she contributes on a monthly basis.
   We do note that at the hearing on Darren’s motion to alter
or amend, Michelle did offer into evidence copies of her pay-
stubs from June to September 2016. Presumably, these pay-
stubs would indicate whether Michelle contributes to a retire-
ment plan and how much she contributes on a monthly basis.
However, we decline to consider these paystubs as evidence
because Michelle did not make any postjudgment motion to
reopen the evidence or for reconsideration of the decree. In
fact, after Michelle submitted the paystubs into evidence, she
did not even mention the district court’s failure to include in its
calculation of her income a deduction for her contributions to
a retirement plan. Moreover, it appears that Darren’s assertions
in his motion to alter or amend were based solely on evidence
presented at trial. As such, the information Michelle presented
at the hearing was not relevant to Darren’s motion.
   Given the lack of evidence adduced at trial to support
Michelle’s claim that she is entitled to a deduction for her
contributions to a retirement plan, we cannot say that the dis-
trict court abused its discretion in failing to allow such deduc-
tion in its calculation of Michelle’s income for child support
purposes.
                  Child Support Conclusion
   Upon our review, we find that Darren’s gross monthly
income should be calculated utilizing only his hourly wages.
He should not receive a deduction for the payment of his health
insurance premiums, nor should he receive a credit for the
payment of his daughter’s health insurance premiums. He also
should not receive any retirement deduction, since he does not
make any out-of-pocket contributions to a retirement account.
Based on our findings, we have recalculated Darren’s child
support obligation in the child support worksheet attached to
this opinion as appendix A. Ultimately, we modify Darren’s
child support obligation to be $782 per month.
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                          A llocation of
                       Childcare Expenses
   Finally, Michelle asserts that the district court erred in fail-
ing to allocate childcare expenses between the parties. Upon
our de novo review of the record, we find Michelle’s assertion
has merit.
   The guidelines provide the following instructions about how
childcare expenses should be treated:
         Childcare expenses are not specifically computed into
      the guidelines amount and are to be considered indepen-
      dently of any amount computed by use of these guide-
      lines. Care expenses for the child for whom the support is
      being set, which are due to employment of either parent
      or to allow the parent to obtain training or education nec-
      essary to obtain a job or enhance earning potential, shall
      be allocated to the obligor parent as determined by the
      court, but shall not exceed the proportion of the obligor’s
      parental contribution . . . and shall be added to the basic
      support obligation computed under these guidelines.
Neb. Ct. R. § 4-214 (rev. 2016). At trial, Michelle testified that
the parties’ daughter attends daycare because both Michelle
and Darren work. Michelle did not indicate the cost of this
daycare, but she did testify that since at least January 2016,
she and Darren have been splitting the daycare costs. Michelle
testified that she wanted that arrangement to continue. The
district court did not address the parties’ childcare expenses in
the decree.
   Based upon the language in § 4-214, we find that the district
court erred in failing to address the parties’ childcare expenses
in the decree. We remand the cause to the district court for
a determination of the allocation of the costs of childcare
between the parties.

                        CONCLUSION
   Upon our de novo review, we conclude that the district court
erred in its calculation of Darren’s child support obligation.
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Specifically, we find that the court erred in calculating Darren’s
monthly income by adding the amount his employer spends
on his health insurance premiums to his hourly earnings and
by providing Darren with a $375 deduction for his contribu-
tion to a retirement plan. We have recalculated Darren’s child
support obligation, consistent with our findings, in the child
support worksheet attached to this opinion as appendix A. We
modify Darren’s monthly child support obligation to be $782
per month. We also find that the district court erred by fail-
ing to allocate the costs of childcare. We remand the cause
to the district court to allocate the costs of childcare between
the parties.
	A ffirmed as modified, and cause
	                             remanded with direction.

                (See page 117 for appendix A.)
                             - 117 -
         Nebraska Court of A ppeals A dvance Sheets
              25 Nebraska A ppellate R eports
                    DRABBELS v. DRABBELS
                     Cite as 25 Neb. App. 102
                        APPENDIX A
              Case Name: Drabbels v. Drabbels
    Worksheet 1 - Basic Income and Support Calculation
    Mother: Single / 1.5 Exemptions / Not Self Employed
    Father: Single / 1.5 Exemptions / Not Self Employed
Line Description	                 Mother	             Father
1	 Total Monthly Income	         $3,466.00	         $5,780.00
1	 Tax-Exempt Income	                $0.00	             $0.00
2.a	 Taxes - Federal	              $325.73	           $831.04
2.a	 Taxes - Nebraska	             $113.05	           $271.32
2.b	 FICA - Social Security	       $214.89	           $358.36
2.b	 FICA - Medicare	               $50.26	            $83.81
2.c	Retirement	                      $0.00	             $0.00
2.d	 Previously Ordered Support	     $0.00	             $0.00
2.e	 Regular Support for Other
	Children	                           $0.00	             $0.00
2.f	 Health Insurance Premium
	    for Parent	                     $0.00	             $0.00
	    Other Deductions	               $0.00	             $0.00
	    Child Tax Credit	             ($41.67)	          ($41.67)
2.g	 Total Deductions	             $662.26	         $1,502.87
3	 Net Monthly Income	           $2,803.74	         $4,277.13
4	 Combined Net Monthly Income	             $7,080.87
5	 Combined Net Annual Income	            $84,970.41
6	 Each Parent’s Percent	            39.6%	             60.4%
7	 Monthly Support from Table
	    (1 Child)	                             $1,294.00
8	 Health Insurance Premium
	    for Children	                   $0.00	             $0.00
9	 Total Obligation	                        $1,294.00
10	 Each Parent’s Monthly Share	   $512.42	           $781.58
11	 Credit For Health Insurance
	    Premium Paid	                  ($0.00)	           ($0.00)
12	 Each Parent’s Final Share
	    (1 Child, rounded)	           $512.00	           $782.00
